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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

  Civil Action No. 11-cv-01012-RBJ

  CGC HOLDING COMPANY, LLC, a Colorado limited liability company,
  HARLEM ALGONQUIN LLC, an Illinois limited liability company, and
  JAMES T. MEDICK, on behalf of themselves and all others similarly situated,

          Plaintiffs,
  v.

  SANDY HUTCHENS, a/k/a Fred Hayes, a/k/a Moishe Alexander, a/k/a Moshe Ben Avraham,
  TANYA HUTCHENS, and
  JENNIFER HUTCHENS,

          Defendants.



                         SECOND AMENDED and FINAL JUDGMENT



          In accordance with the orders filed during the pendency of this case, and pursuant to Fed.

  R. Civ. P. 58(a), the following Amended and Final Judgment is hereby entered.

          This action was tried before a jury of six after illness of a seventh juror, duly sworn to try

  the issues herein with U.S. District Judge R. Brooke Jackson presiding, and the jury has rendered

  a verdict. The jury rendered verdicts in favor of the plaintiffs (meaning the named plaintiffs and

  members of the certified plaintiff class) and against defendants Sandy Hutchens, Tanya Hutchens

  and Jennifer Hutchens, finding as to each defendant that he or she violated both 18 U.S.C. §

  1962(c) and 18 U.S.C. § 1962(d), and awarding damages in the total amount of $8,421,367.00.

  Pursuant to 18 U.S.C. § 1964(c), those damages are trebled. After trebling, the amount of pretrial

  settlements is deducted. Accordingly, it is




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          ORDERED that judgment is entered on behalf of the plaintiffs, CGC HOLDING

  COMPANY, LLC, a Colorado limited liability company, HARLEM ALGONQUIN LLC, an

  Illinois limited liability company, JAMES T. MEDICK, and class members, and against the

  defendants, SANDY HUTCHENS, a/k/a Fred Hayes, a/k/a Moishe Alexander, a/k/a Moshe Ben

  Avraham, TANYA HUTCHENS and JENNIFER HUTCHENS, jointly and severally, with

  compensatory damages in the amount of $8,421,367, trebled, minus pretrial settlements in the

  amount of $1,025,000, for a total of $24,239,101. It is

          FURTHER ORDERED that a constructive trust is imposed on the following corporations

  and properties located in Ontario, Canada such that Sandy Hutchens, or Tanya Hutchens, or

  Jennifer Hutchens, or any other family member of any of Sandy, Tanya or Jennifer Hutchens are

  holding the following in trust for the plaintiffs:


  a)      Shares/Assets of the following Corporations/Entities:

           1. 29 Laren Street Inc.

           2. 3415 Errington Avenue Inc.

           3. 3419 Errington Avenue Inc.

           4. 331 Regent Street Inc.

           5. 110-114 Pine Street Inc.

           6. 15-16 Keziah Court Inc.

           7. 193 Mountain Street Inc.

           8. 625 Ash Street Inc.

           9. 101 Service Road Inc.

           10. 146 Whittaker Street Inc.

           11. Estate of Judith Hutchens. No less than $615,000 appears to be traceable to this



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               asset.

           12. 364 Morris Street Inc. No less than $4,000 is traceable to this asset.

           13. 367-369 Howey Drive Inc. No less than $4,000 is traceable to this asset.

           14. 720 Cambrian Heights Inc. No less than $1,500 is traceable to this asset.

           15. JBD Holding and/or JBD Family. No less than $400,000 is traceable to this

               asset.

  b)      The following Real Property:

           Registered Owner           Property Address            Legal Description of Real Property


  1.       29 Laren Street Inc.       29 Laren Street             PIN #73481-0001 (LT);
                                      Sudbury, Ontario
                                                                  PCL 12042 SEC SES; PT LT 31 BLK B
                                                                  PL M9 DRYDEN & PT LT 32 BLK B
                                                                  PL M9 DRYDEN AS IN LT67718; PT
                                                                  LT 33 PL M9 DRYDEN PT 1
                                                                  53R64589; GREATER SUDBURY
  2.       29 Laren Street Inc.       29 Laren Street             PIN #73481-0006 (LT);
                                      Sudbury, Ontario
                                                                  PCL 12115 SEC SES; LT 30 BLK B PL
                                                                  M9 DRYDEN; GREATER SUDBURY
  3.       29 Laren Street Inc.       29 Laren Street             PIN #73481-0008 (LT);
                                      Sudbury, Ontario
                                                                  PLC 12201 SEC SES; LT 29 BLK B PL
                                                                  M9 DRYDEN; PT PINE ST PL M9
                                                                  DRYDEN; PT LANE PL PL M9
                                                                  DRYDEN (NOW CLOSED) PARTS 3-
                                                                  5, 53R9050 SAVE & EXPECTING
                                                                  THEREFROM THE CANADIAN
                                                                  PACIFIC RAILWAY COMPANY
                                                                  PROPERTY, & THAT PORTION OF
                                                                  THE WAHNAPITAE RIVER; S/T
                                                                  LT567345; GREATER SUDBURY
  4.       29 Laren Street Inc.       29 Laren Street             PIN #73481-0493 (LT);
                                      Sudbury, Ontario
                                                                  PCL 3816 SEC SES; LT 5-6 BLK B PL
                                                                  M9 DRYDEN; S/T LT567345;
                                                                  GREATER SUDBURY
  5.       29 Laren Street Inc.       29 Laren Street             PIN #73481-0446 (LT);
                                      Sudbury, Ontario
                                                                  PCL 12386 SEC SES; LT 1-3 BLK B
                                                                  PL M9 DRYDEN; GREATER
                                                                  SUDBURY



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           Registered Owner             Property Address        Legal Description of Real Property


  6.       29 Laren Street Inc.         29 Laren Street         PIN #73481-0512 (LT);
                                        Sudbury, Ontario
                                                                PLC 198 SEC SES; LT 4 BLK B PL M9
                                                                DRYDEN; GREATER SUDBURY
  7.       3415 Errington Avenue Inc.   3415 Errington Avenue   PIN: 73349-1569 (LT)
                                        Sudbury, Ontario
                                                                PCL 10618 SEC SWS; LT 215 BLK 6
                                                                PL M91 BALFOUR; GREATER
                                                                SUDBURY
  8.       3419 Errington Avenue Inc.   3419 Errington Avenue   PIN: 73349-0720 (LT)
                                        Sudbury, Ontario
                                                                PCL 21629 SEC SWS; LT 222 BLK 6
                                                                PL M91 BALFOUR; GREATER
                                                                SUDBURY
  9.       331 Regent Street Inc.       331 Regent Street       PIN #73586-0638 (LT)
                                        Sudbury, Ontario
                                                                LT 297 PL 4SC MCKIM; GREATER
                                                                SUDBURY
  10.      110-114 Pine Street Inc.     110-114 Pine Street     PIN #02135-0246 (LT);
                                        Sudbury, Ontario
                                                                LTS 48, 49, PT LT 50, BLK B PLAN
                                                                3SA; PTS 2, 4, 5, 6 53R11500
                                                                SUBJECT TO S94352 CITY OF
                                                                SUDBURY
  11.      193 Mountain Street Inc.     193 Mountain Street     PIN #02132-0942 (LT);
                                        Sudbury, Ontario
                                                                PCLS 2388, 3113 AND 21292 SEC SES
                                                                LTI PLAN M28B EXCEPT COMM AT
                                                                THE S ELY ANGLE OF LT1;
                                                                THENCE S 37 DEG 16’W ALONG
                                                                THE SLY LIMIT OF LT1 A
                                                                DISTANCE OF 42FT 3INCHES TO
                                                                THE SLY ANGLE OF SAID LT1;
                                                                THENCE S 73 DEG 04”W ALONG
                                                                THE SLY LIMIT OF SAID LT1 A
                                                                DISTANCE OF 10FT, 6INCHES TO
                                                                THE SW ANGLE OF LT1; THENCE N
                                                                52DEG 10”W ALONG THE W LIMIT
                                                                OF LT1 A DISTANCE OF 10FT,
                                                                6INCHES TO A POINT; THENCE N
                                                                64DEG 29’E A DISTANCE OF 11 FT
                                                                MORE OR LESS TO A POINT BEING
                                                                11.0FT N 25DEG 31’W OF THE SLY
                                                                ANGLE OF LT1; THENCE N 52 DEG
                                                                00’ E A DISTANCE OF 38FT MORE
                                                                OR LESS TO THE POC, PLAN
                                                                ATTACHED IN 33273, NOW PCL
                                                                5776 SES; LT2 PLAN M28B EXCEPT
                                                                COMMENCING AT THE S ELY
                                                                ANGLE OF LT2, THENCE S 73



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           Registered Owner             Property Address      Legal Description of Real Property

                                                              DEGREES 04’W ALONG THE SLY
                                                              LIMIT OF LT2 A DISTANCE OF
                                                              63’2” TO THE S WLY ANGLE OF
                                                              LT2, THEN N64 DEGREES 29’ EA
                                                              DISTANCE OF 62’ MORE OR LESS
                                                              TO A POINT ON THE ELY LIMIT OF
                                                              LT2, THENCE S 52 DEGREES E
                                                              ALONG THE ELY LIMIT OF LT2 A
                                                              DISTANCE OF 10’6” MORE OR LESS
                                                              TO THE POC; PLAN ATTACHED IN
                                                              33273, NOW PLC 5776 SES; EXCEPT
                                                              COMM AT A POINT IN THE S
                                                              WESTERN LIMIT OF SAID LT2
                                                              DISTANT 95.0FT FROM THE MOST
                                                              SLY ANGLE OF SAID LT; THENCE
                                                              N 45DEG 23’W TO A POINT IN THE
                                                              HIGHWATER MARK OF THE
                                                              EASTERN BANK OF JUNCTION
                                                              CREEK; THENCE S WLY
                                                              FOLLOWING ALONG SAID
                                                              HIGHWATER MARK TO THE MOST
                                                              WLY ANGLE OF SAID LT; THENCE
                                                              S 54DEG 42’E ALONG THE
                                                              AFORESAID S WESTERN LIMIT 95.0
                                                              FT MORE OR LESS TO THE POC,
                                                              NOW PCL 21291 SES; EXCEPT PT1
                                                              53R8264; PT LT3 PLAN M28B COMM
                                                              AT TA POINT IN THE N ELY
                                                              ANGLE; THENCE S 70 DEG 32’ W
                                                              ALONG THE S EASTERN LIMIT OF
                                                              SAID LT 18.0FT; THENCE N 45DEG
                                                              23’W TO THE POC; EXCEPT PT 2
                                                              53R8264 SUBJECT TO 25265S/T
                                                              LT868119 PART 6&7 ON PLAN 53R-
                                                              16220 CITY OF SUDBURY
  12.      Tanya Hutchens               1779 Cross Street     PIN #58069-0150 (LT);
                                        Innisfil, Ontario
                                                              PT N 1/2 LT 25 CON 6 INNISFIL AS
                                                              IN R01093173; ST R01093173;
                                                              INNISFIL
  13.      367-369 Howey Drive Inc.     367-369 Howey Drive   PIN #73583-0400 (LT);
                                        Sudbury, Ontario
                                                              LT 1-2 BLK A PL 5SA MCKIM S/T &
           No less than $4,000 is
                                                              T/W S112782; S/T INTEREST IN
           traceable to this asset.
                                                              S112782; GREATER SUDBURY
  14.      Tatiana Hutchens             33 Theodore Place     PIN #03251-0304 (LT);
                                        Vaughan, Ontario
                                                              PCL 89-1, SEC 65M2941; LT 89, PL
           No less than $379,968
                                                              65M2941, S/T LT746593: Vaughan
           appears to be traceable to
           this asset.




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           Registered Owner             Property Address         Legal Description of Real Property


  15.      Tatiana Hutchens             33 Theodore Place        PIN #03251-0304 (LT);
                                        Vaughan, Ontario
                                                                 PCL 89-1, SEC 65M2941; LT 89, PL
           No less than $379,968
                                                                 65M2941, S/T LT746593: Vaughan
           appears to be traceable to
           this asset.

  c)      Personal Property

           1. Sea Doo Boat located at 33 Theodore Place, Vaughan, Ontario. No less than

               $21,000 is traceable to this asset.

           The constructive trust against these corporations and properties (unless specifically

   stated otherwise) is for the full amount of the Judgment entered by the Court and includes

   all monies resulting directly or indirectly from the use, lease or sale of the corporations and

   properties regardless of the title/ownership to the corporations and properties which are

   held in trust for the plaintiffs. The burden is on the plaintiffs to trace any additional

   application fees to specific corporations and properties beyond the tracing found above. It

   is
          FURTHER ORDERED that the Court awards attorney’s fees to the plaintiffs of one-third

  of the amounts collected on the common fund created by this Amended and Final Judgment

  ($24,239,101 plus interest), to be taken proportionately out of funds as they are collected so that

  counsel and clients share the collections contemporaneously and proportionately as they are

  received. It is

          FURTHER ORDERED that pursuant to 18 U.S.C. § 1964(c), Fed. R. Civ. P. 54(d)(1) and

  D.C.COLO.LCivR 54.1, plaintiff are awarded costs against Sandy Hutchens, Tanya Hutchens

  and Jennifer Hutchens, jointly and severally, in the amount of $33,237.89. It is

          FURTHER ORDERED that plaintiffs are awarded prejudgment interest on $8,421,367 at

  the rate of 1.31% compounded annually from April 15, 2011 through September 26, 2017


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  against Sandy Hutchens, Tanya Hutchens and Jennifer Hutchens, jointly and severally, in the

  total amount of $737,911.68. It is

          FURTHER ORDERED that post-judgment interest at the federal rate of 1.31% will run

  on the unsatisfied portion of the judgment from September 27, 2017 until the judgment is

  satisfied.

          Dated at Denver, Colorado this 16th day of July, 2018

                                                      FOR THE COURT:
                                                      JEFFREY P. COLWELL, CLERK

                                                      By: s/ J. Dynes
                                                              J. DYNES
                                                              Deputy Clerk

  APPROVED BY THE COURT:
   s/ R. Brooke Jackson
  United States District Judge




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